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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                       )
                                               )
                                               )
       v.                                      )       Criminal No. 17-cr-10092-NMG
                                               )
GARY P. DECICCO,                               )
                                               )
                       Defendant               )


                 JOINT MOTION TO CONTINUE 1/22/18 DEADLINE
             FOR FILING OF MOTIONS IN LIMINE AND PRODUCTION OF
                    MATERIALS UNDER LOCAL RULE 116.2(b)(2)

       The United States of America and defendant Gary P. DeCicco, through undersigned

counsel, hereby request that the Court continue the January 22, 2018 deadline for filing of

motions in limine and for production of materials under Local Rule 116.2(b)(2), to a date on or

after January 23, 2018. As grounds therefore, the parties state:

       1. On January 16, 2018, defendant filed a Motion to Continue Trial Date, requesting that

            the Court continue the trial scheduled for February 12, 2018 to May 7, 2018 or

            thereafter (Docket No 141) (the Motion).

       2. On January 28, 2018, the government filed its Response to Defendant’s Motion to

            Continue Trial Date (Docket No. 143), indicating that it did not assent to a

            continuance of the February 12 trial date, but also that it did not object to the

            requested continuance on the grounds that new counsel had only recently entered an

            appearance in the case.

       3. The Court has scheduled a hearing on the Motion for January 23, 2018.
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       4. Both parties agree that a continuance of the January 22, 2018 deadline for filing

           motions in limine and production of materials pursuant to Local Rule 116.2(b)(2), at

           least until after the Court rules on the Motion, is appropriate.

       WHEREFORE, for the reasons set forth above, the parties respectfully request that the

Court continue the January 22, 2018 deadline for filing motions in limine and production of

materials under Local Rule 116.2(b)(2), and that the Court set a new deadline at the January 23,

2018 hearing.

                                                      Respectfully submitted,

                                                      ANDREW E. LELLING
                                                      United States Attorney

                                                 By: /s/Kristina E. Barclay
                                                     Kristina E. Barclay
                                                     Assistant U.S. Attorney

GARY P. DECICCO
By his counsel,

 /s/Caroline K. Simons
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Date: January 19, 2018




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